36 F.3d 1091
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Harry B. BALL, Petitioner,v.BEATRICE POCAHONTAS COAL COMPANY;  Director, Office ofWorkers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 93-2321.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  August 23, 1994Decided:  September 28, 1994.
    
      On Petition for Review of an Order of the Benefits Review Board.  (92-1776-BLA)
      Harry B. Ball, Petitioner Pro Se.
      Douglas Allan Smoot, Jackson &amp; Kelly, Charleston, WV;  Marta Kusic, Staff Attorney, Dorothy L. Page, United States Department of Labor, Washington, DC, for Respondents.
      Ben. Rev. Bd.
      AFFIRMED.
      Before HALL and MURNAGHAN, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1994).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Ball v. Beatrice Pocahontas Coal Co., No. 92-1776-BLA (Ben. Rev. Bd. Sept. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    